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JUDICIAL PANEL ON
- RULTIDISTRICT LITIGATION
FILED

OCT -S (S88
BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION .
=PATRICIA OD. HOW A
IN RE TOWNER PETROLEUM COMPANY SECURITIES LITIGATION CLERK OF THE PANEL

DOCKET NO. 607

TRANSFER ORDER

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This litigation presently ;consists of twelve actions pending in
eleven districts as follows:—

Western District of Pennsylvania 2 actions
Central District of California 1 action
Northern District of Georgia 1 action
District of Maryland 1 action
District of Massachusetts 1 action
Western District of North Carolina 1 action
Eastern District of Pennsylvania 1 action
Middle District of Pennsylvania 1 action
District of South Carolina 1 action
Western District of Tennessee 1 action
Southern District of Texas 1 action

Before the Panel is a motion brought by Towner Petroleum Company
(Towner), Towner Leveraged Private Program 1981-B, Ltd. (the 1981-B
Program) and ten Towner officers and/or directors to centralize the
actions under 28 U.S.C. §1407 for coordinated or consolidated pretrial
proceedings in the Northern District of Ohio or, in the alternative,
in the Eastern District of Pennsylvania. With the exception of one
co-defendant in the Tennessee action that has subsequently notified
the Panel that it has reached a settlement with the plaintiff in that
action, all responding parties either agree upon or do not oppose
centralization. The only disagreement concerns selection of the
transferee forum. The plaintiffs in nine actions (the California,
Georgia, Maryland, Massachusetts, North Carolina, Tennessee, Middle
District of Pennsylvania and the two Western District of Pennsylvania
actions) and the 53 plaintiffs in the Eastern Distpyct of Pennsylvania
action that are not plaintiffs in any other action— all support
selection of the Eastern District of Pennsylvania as transferee forum.
Plaintiffs in the Texas action favor selection of the Southern
District of Texas as transferee forum.

17” The original motion before the Panel included only eleven actions.
The motion was amended on July 26, 1984, to add the action pending in
the Middle District of Pennsylvania.

2/ Of a total of 67 plaintiffs in the remaining eleven actions, 59
are also plaintiffs in the Eastern District of Pennsylvania action.
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On the basis of the papers filed,3/ the Panel finds that these @
actions involve common questions of fact, and that centralization of
the actions under Section 1407 in the Eastern District of: Pennsylvania
will best serve the convenience of the parties and witnesses and
promate the just and efficient conduct of the litigation. All the
actions arise out of the sale by Towner and assorted broker dealers of
limited partnership interests in the 1981-B Program. Each action is
predfcated on the contention that adverse information concerning
Towner and the 1981-B Program was not disclosed, in violation of
securities laws, to purchasers of the limited partnership interests.
Centralization of these actions is therefore necessary in order to
avoid duplication of discovery, prevent inconsistent pretrial rulings,
and conserve the resources of the parties, their counsel and the
judiciary.

While a number of forums could be considered appropriate trans-
feree forums for this litigation, on balance we are persuaded that the
Eastern District of Pennsylvania is the most preferable forum. In
particular, we note that: 1) the Eastern District of Pennsylvania
action contains allegations that are broadest in scope; 2) of the 120
plaintiffs suing in the various actions (and residing all over the
United States), 112 have alreacy opted to litigate in the Kastern
District of Pennsylvania by filing suit there; 3) an informal 1981-3
Program Investors Committee has been organized in Philadelphia since
the summer of 1983, has retained Philadelphia counsel, and has already
conducted in Philadelphia an extensive preliminary investigation of ©
the facts surrounding the 1981-B Program that may be useful to the
litigants in this docket; and 4) the Eastern District of Pennsylvania
has been designated an acceptable transferee forum by all responding
parties except the plaintiffs in the Texas action.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the
actions listed on the attached Schedule A and pending outside the
Eastern District of Pennsylvania be, and the same hereby are,
transferred to the Eastern District of Pennsylvania and, with the
consent of that court, assigned to the Honorable Donald W.
VanArtsdalen for coordinated or consolidated pretrial proceedings with
the action pending in that district and listed on Schedule A.

FOR THE PANEL;

 
  
    

 

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Chairman

3/ The parties waived oral argument and accordingly the question of
-ransfer of these actions under Section 1407 was submitted on the
briefs. Rule 14, R.P.J.P.M.L., 89 FLR.D. 273, 283-84 (1981).

 

 
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. SCHEDULE A

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Qu -- IN RE TOWNER PETROLEUM COMPANY SECURITIES LITIGATION
Central District of California

Arthur F. Pizzinat, et al. v. Bateman Eichler, Hill Richards, Inc., et al.,
C.A. Now 54-4024 :

2 . Northern District of Georgia

Terrence D. Hughey, et al. v. Towner Leveraged Private Program 1981-B,
Ltd., et al., C.A. No. CO4-1074A .
District of Maryland

Mary Ellen R. Brush, et al. v. Legg Mason Wood Walker, Inc., C.A. No.
KEa=-2197

District of Massachusetts

Ernest H. Augat, et al. v. Towner Leveraged Private Program 1981-B, Ltd.,
et al., C.A. No. 64-1694 Z

Western District of North Carolina

James H. Glenn, Jr., et al. v. Towner Leveraged Private Program 1981-8,
Ltd., C.A. No. C-C-8 4-276 -M

© Western District of Pennsylvania

Allen J. Cousin, et al. v. Towner Leveraged Private Program 1981-B, Ltd.,
et al., C.A. No. Cd4-1325

Paul Robert Johnston, et al. v. Towner Leveraged Private Program 1981-B,
Ltd., et al., C.A. No. $4-1430
Middle District of Pennsylvania

Harold Kaplan, et al. v. Towner Leveraged Private Program 1981-B, Ltd., et
ale, C.A. No. 84-0935

District of South Carolina

Edward K. Pritchard, Jr., et al. v. Towner Leveraged Private Program
1951-B, Ltd., et al., C.A. No. 6 3-1302-5

Western District of Tennessee

John J. Shea v. Towner Leveraged Private Program 1981-B, Ltd., et al., O.A.
No. 84-2425-HA

Southern District of Texas

@ >. L. Davis, et al. v. Eppler, Guerin & Turner, Inc., et al., C.A. No.
H-34-2453

Eastern District of Pennsylvania

John T. Synnestvedt, et al. v. Towner Petroleum Co., et al., C.A. No.
64-2635

 

 
